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IN THE UNITED STATES DISTR]CT COURT

FOR THE WESTERN DIsTRICT oF TENNEssEE 'f aj jail
EASTERN DIVISION / <;_.
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RBP, LLC, ) c<»:/(,,/,
) (/")\
Plaintiff, )
)
v. ) NO. 04-1154 T/An
)
GENUINE PARTS CO. and lNDIANA )
INsURANCE Co., )
)
Defendants. )

 

ORDER GRANTING MOTION TO AMENI) PLEADING

 

Before the Court is Defendant lndiana lnsurance Company’s (“Defendant”) Motion to
Amend Pleading filed on May 3, 2005. For the reasons set forth below, the Motion is
GRANTED.

A pleading may be amended “only by leave of court . . . and leave shall be freely given
When justice so requires.” Fed. R. Civ. P. lS(a). “In deciding Whether to allow an amendment,
the court should consider the delay in filing, the lack of notice to the opposing party, bad faith by
the moving party, repeated failure to cure deficiencies by previous amendments, undue prejudice
to the opposing party, and futility of amendment.” Perkins v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2()01). After review, the Court can see no reason Why the Motion
should not be granted

Additionally, Plaintiff failed to file a response to the motion as required by Local Rule

7.2(a)(2). “Failure to timely respond to any motion, other than one requesting dismissal of a

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with Rule 58 and.'or_79 (a) FRCF on iii i 5 l 1 i, §

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claim or action, may be deemed good grounds for granting the motion.” Local Rule 7'.2(a)(2).
As such, because motions to amend should be freely granted and because Plaintiff did not

respond to the motion, Defendant’s Motion is GRANTED. Defendant shall file their Amended

Answer Within ll days of entry of this Order.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 254/111 /‘|[I 200(-

IT IS SO ORDERED.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
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Honorable .l ames Todd
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